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                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             SACR 16-76JVS


 Defendant           15. Stephen D Paine                                     Social Security No. 8         0   0     1
 akas:   t/n Stephen Dowling Paine                                           (Last 4 digits)




                                                                                                                    MONTH      DAY     YEAR
              In the presence of the attorney for the government, the defendant appeared in person on this date.         05     02      2022

  COUNSEL                                                             Robert Bernstein, Retained
                                                                             (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                   NOT
                                                                                                               CONTENDERE               GUILTY
  FINDING            There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                     Mail Fraud, Aiding and Abetting, Causing and Act to be Done in violation of 18 USC Sections 1341, 2(a), 2(b)

JUDGMENT             The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/            contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM               Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER              custody of the Bureau of Prisons to be imprisoned for a term of: One Day


It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately.

Pursuant to Guideline Section 5E1.2(a), all fines are waived as the Court finds that the defendant has established
that he is unable to pay and is not likely to become able to pay any fine.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Stephen D.
Paine, is hereby committed on Count 17 of the Indictment to be imprisoned for a term of one day (TIME
SERVED).

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of two years under
the following terms and conditions:

         1.          The defendant shall comply with the rules and regulations of the United States Probation &
                     Pretrial Services Office and Second Amended General Order 20-04.

         2.          During the period of community supervision, the defendant shall pay the special assessment
                     in accordance with this judgment's orders pertaining to such payment.

         3.          The defendant shall cooperate in the collection of a DNA sample from the defendant.




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         4.          The defendant shall refrain from any unlawful use of a controlled substance. The defendant
                     shall submit to one drug test within 15 days of release from imprisonment and at least two
                     periodic drug tests thereafter, not to exceed eight (8) tests per month, as directed by the
                     Probation Officer.


         5.          As directed by the Probation Officer, the defendant shall provide to the Probation Officer:
                     (1) a signed release authorizing credit report inquiries; (2) federal and state income tax
                     returns and a signed release authorizing their disclosure and (3) an accurate financial
                     statement, with supporting documentation as to all assets, income, expenses, and liabilities
                     of the defendant.

         6.          The defendant shall maintain one personal checking account. All of defendant’s income,
                     “monetary gains,” or other pecuniary proceeds shall be deposited into this account, which
                     shall be used for payment of all personal expenses. Records of all other bank accounts,
                     including any business accounts, shall be disclosed to the Probation Officer upon request.


         7.          The defendant shall not engage, as whole or partial owner, employee or otherwise, in any
                     business involving loan programs, telemarketing activities, investment programs or any other
                     business involving the solicitation of funds or cold calls to customers without the express
                     approval of the Probation Officer prior to engagement in such employment. Further, the
                     defendant shall provide the Probation Officer with access to any and all business records,
                     client lists, and other records pertaining to the operation of any business owned, in whole or
                     in part, by the defendant, as directed by the Probation Officer.


         8.          The defendant shall participate in a home detention program for 8 months. Electronic
                     monitoring is waived.

      Defendant is advised of his appeal rights. Bond is ordered EXONERATED. On the Government’s
motion, the remaining count is ordered dismissed. The Court recommends the defendant be monitored on
supervised release out of the Eastern District.




 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation
 and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend
 the period of supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue
 a warrant and revoke supervision for a violation occurring during the supervision period.


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            May 2, 2022
            Date                                                      U. S. District Judge James V Selna

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified
 officer.

                                                                      Clerk, U.S. District Court



              5/2/22                                        By
            Filed Date                                                Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                            STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                             While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or             9.    The defendant must not knowingly associate with any persons
       local crime;                                                               engaged in criminal activity and must not knowingly associate
 2.    The defendant must report to the probation office in the                   with any person convicted of a felony unless granted
       federal judicial district of residence within 72 hours of                  permission to do so by the probation officer. This condition
       imposition of a sentence of probation or release from                      will not apply to intimate family members, unless the court
       imprisonment, unless otherwise directed by the probation                   has completed an individualized review and has determined
       officer;                                                                   that the restriction is necessary for protection of the
 3.    The defendant must report to the probation office as                       community or rehabilitation;
       instructed by the court or probation officer;                        10.   The defendant must refrain from excessive use of alcohol and
 4.    The defendant must not knowingly leave the judicial                        must not purchase, possess, use, distribute, or administer any
       district without first receiving the permission of the court               narcotic or other controlled substance, or any paraphernalia
       or probation officer;                                                      related to such substances, except as prescribed by a
 5.    The defendant must answer truthfully the inquiries of the                  physician;
       probation officer, unless legitimately asserting his or her          11.   The defendant must notify the probation officer within 72
       Fifth Amendment right against self-incrimination as to                     hours of being arrested or questioned by a law enforcement
       new criminal conduct;                                                      officer;
 6.    The defendant must reside at a location approved by the              12.   For felony cases, the defendant must not possess a firearm,
       probation officer and must notify the probation officer at                 ammunition, destructive device, or any other dangerous
       least 10 days before any anticipated change or within 72                   weapon;
       hours of an unanticipated change in residence or persons             13.   The defendant must not act or enter into any agreement with
       living in defendant’s residence;                                           a law enforcement agency to act as an informant or source
 7.    The defendant must permit the probation officer to                         without the permission of the court;
       contact him or her at any time at home or elsewhere and              14.   The defendant must follow the instructions of the probation
       must permit confiscation of any contraband prohibited by                   officer to implement the orders of the court, afford adequate
       law or the terms of supervision and observed in plain                      deterrence from criminal conduct, protect the public from
       view by the probation officer;                                             further crimes of the defendant; and provide the defendant
 8.    The defendant must work at a lawful occupation unless                      with needed educational or vocational training, medical care,
       excused by the probation officer for schooling, training,                  or other correctional treatment in the most effective manner.
       or other acceptable reasons and must notify the probation
       officer at least ten days before any change in
       employment or within 72 hours of an unanticipated
       change;




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             The defendant must also comply with the following special conditions (set forth below).

        STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL
 SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the
 fine or restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1).
 Payments may be subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to
 restitution, however, are not applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and
 costs must be paid by certified check or money order made payable to “Clerk, U.S. District Court.” Each certified check or money
 order must include the case name and number. Payments must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must
 pay the balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing
 address or residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

           The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change
 in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18
 U.S.C. § 3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or
 that of a party or the victim, adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. §
 3572(d)(3) and for probation 18 U.S.C. § 3563(a)(7).

           Payments will be applied in the following order:

                     1. Special assessments under 18 U.S.C. § 3013;
                     2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                       States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, under 18 U.S.C. § 3663(c); and
                     5. Other penalties and costs.

       CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

           As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing
 credit report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate
 financial statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the
 defendant must not apply for any loan or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to
 the Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including
 any business or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the
 Probation Office in advance of opening a new account or modifying or closing an existing one, including adding or deleting
 signatories; changing the account number or name, address, or other identifying information affiliated with the account; or any
 other modification. If the Probation Office approves the new account, modification or closing, the defendant must give the
 Probation Officer all related account records within 10 days of opening, modifying or closing the account. The defendant must not
 direct or ask anyone else to open or maintain any account on the defendant’s behalf.

          The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500
 without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                           These conditions are in addition to any other conditions imposed by this judgment.


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                                                                  RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal
 determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                      By
            Date                                                     Deputy Marshal



                                                             CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office,
 and in my legal custody.

                                                                     Clerk, U.S. District Court


                                                      By
            Filed Date                                               Deputy Clerk




                                            FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the
term of supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date



                     U. S. Probation Officer/Designated Witness                     Date




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